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                                          July 8, 2004
                                         Policy 2004-4

                       Administration of Green Mountain Reservoir


                                         Interim Policy

    The fill season for the Green Mountain Reservoir 1935 storage starts when declared
    by the Secretary of the Interior between April 1 and May 15th (para.3, 1964 Blue
    River Decree). This action initiates the accounting for water stored in Green
    Mountain Reservoir or stored or diverted by upstream junior water rights. Water that
    is bypassed above the 60cfs of minimum bypass requirements at Green Mountain
    must be counted against the fill at Green Mountain as storable inflow.

    The State Engineer considers the 1935 Green Mountain Reservoir storage decree
    satisfied when the sum of storage at the initiation of the fill season + storage since the
    initiation of the start of fill + all outflow in excess of 60cfs not demanded for a
    downstream call + depletions of HUP beneficiaries and Green Mountain contractors
    upstream of Green Mountain Reservoir junior to Dillon’s 1946 priority + upstream
    Denver and Colorado Springs owed to Green Mountain accounts to the extent
    necessary to complete the fill of the senior decrees = 154, 645 acre feet (“paper fill”).

    Following the paper fill and using an October 5, 1955 priority date, Green Mountain
    Reservoir may continue to store tributary inflow when in priority until it physically
    fills the amount of the paper fill attributed to the “owed to Green Mountain accounts.”
    The amount of water stored in Green Mountain Reservoir pursuant to the October 5,
    1955 priority date shall reduce amounts Denver and Colorado Springs owe to Green
    Mountain Reservoir for upstream out-of-priority diversions under the terms of the
    Blue River Decree.

    For example if on July 1, 2004 a paper fill is achieved because Green Mountain
    Reservoir contains 119, 000 acre feet and the total of all upstream out-of-priority
    storage (a.k.a. owed to Green Mountain Reservoir accounts) is 35,645 acre feet, then
    a paper fill will be declared. At that time the senior 1935 Green Mountain Reservoir
    storage decrees are deemed satisfied and the 1935 call will go off on the Blue River
    allowing upstream juniors to divert. Until a river call comes on, Green Mountain
    Reservoir will be allowed to continue to store inflows under a 1955 right with this
    water used to reduce the owed to Green Mountain Reservoir account. When a call
    comes on the river, the Division Engineer will curtail rights in priority to satisfy the
    calling right and if the 1955 right must be curtailed to satisfy the call then no
    additional storage will be allowed in Green Mountain Reservoir.
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                                Limited applicability of this policy

    The State Engineer adopted this policy in order to give water users certainty about
    administrative and accounting principles concerning Green Mountain Reservoir
    during the 2004 fill season. The 2004 fill season is unusual because the Green
    Mountain Reservoir direct flow power right is not being exercised due to low flows in
    the Blue River basin, a physical fill of Green Mountain Reservoir is not likely to be
    accomplished this year and the 1941 Shosone water right may call in early to mid July
    of 2004. Due to the unusual circumstances concerning the 2004 fill season, the State
    Engineer does not intend that this interim policy create any precedent binding on the
    Division of Water Resources or any water user in a future year (whether or not the
    factual situation in the future is the same or similar to the 2004 fill season). The State
    Engineer has consulted with numerous water users prior to adopting this policy and
    understands that there is not basin-wide consensus about the administrative and
    accounting principles included in the interim policy. The State Engineer does not
    intend that this policy change, limit or in any way effect the future positions of the
    Division of Water Resources or any water user. The State Engineer will not construe
    water user acquiescence to the 2004 interim policy to be an admission, estoppel, or
    waiver nor will he argue that the failure of water users to challenge this interim policy
    is a failure to exhaust administrative remedies. Beginning in August of 2004, parties
    interested in Green Mountain Reservoir administration and accounting will meet with
    Division of Water Resources staff and discuss a permanent resolution to these issues
    in order to suggest a final policy to the State Engineer.




    Administration of Green Mountain Reservoir                                              2
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